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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                        )
 CENTRE GMBH and WEST PUBLISHING                   )
 CORPORATION,                                      )
                                                   )
                       Plaintiffs and              )
                       Counterdefendants,          )   C.A. No. 20-613 (SB)
                                                   )
        v.                                         )
                                                   )
 ROSS INTELLIGENCE INC.,                           )
                                                   )
                       Defendant and               )
                       Counterclaimant.            )


                   PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY
                 JUDGMENT (NO. 1) ON COPYRIGHT INFRINGEMENT

       Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs Thomson Reuters Enterprise

Centre GmbH and West Publishing Corporation (collectively, “Plaintiffs”) respectfully move for

entry of partial summary judgment in favor of Plaintiffs on their claims for copyright infringement

against Defendant ROSS Intelligence Inc.

       The grounds for this motion are set forth in Plaintiffs’ opening brief and supporting exhibits

and declarations, filed concurrently. A proposed order is attached.
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December 22, 2022




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                     )
 CENTRE GMBH and WEST PUBLISHING                )
 CORPORATION,                                   )
                                                )
                       Plaintiffs and           )
                       Counterdefendants,       )    C.A. No. 20-613 (SB)
                                                )
          v.                                    )
                                                )
 ROSS INTELLIGENCE INC.,                        )
                                                )
                       Defendant and            )
                       Counterclaimant.         )


                                  [PROPOSED] ORDER

       This Court, having considered Plaintiffs Thomson Reuters Enterprise Centre GmbH and

West Publishing Corporation’s (collectively, “Plaintiffs”) Motion for Partial Summary Judgment

(No. 1) on copyright infringement against Defendant ROSS Intelligence Inc., and the related

briefing and argument thereto,

       IT IS HEREBY ORDERED this ____ day of ___________________202__ that Plaintiffs’

Motion for Summary Judgment (No. 1) is GRANTED.



 Dated:
                                                    The Honorable Stephanos Bibas
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on December

22, 2022, upon the following in the manner indicated:

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